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. Case 4:23-cv-03186 Document 1 Filed on 08/29/23 in TXSD Pagé 1 of 8

PRISONER'S CIVIL RIGHTS COMPLAINT (Rev. 04/2021)

United States Courts
IN THE UNITED STATES DISTRICT COURT Southern District of Texas
FOR THE oe DISTRICT OF TEXAS FILED
VISI
OUuS DIVISION AUG 28 2023
: Dhue Cited, Oni .
_ Plaintiffs Name and ID Ndmber Nathan Ochsner, Clerk of Court

Hanis County Saul

Place of Confinement ‘

CASE NO.
(Clerk will assign the number}

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MSO Depuly J. Davis #H Carne! Tushice, Drive Comme th os

Defendant’s Name and Address

ESO 200 BAKA Sheet Huston TK

Defendant’ s Name and Address

Hpueszond POLICE Department , Hustn “Te

Defendant’s Name and Address
( DO NOT USE “ET AL.”)

INSTRUCTIONS - READ CAREFULLY
NOTICE:
Veuir complaint is subject to dismissal unless it conforms to these instructions and this form.

I. To start an action you must file an original and one copy of your complaint with the court, You should keep
4 copy of the complaint for your own records,

25 ~ Your complaint must be legibly handwritten, in ink, or typewritten, You, the plaintiff, must sign and declare
__tinder penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE REVERSE
| SIDE OR BACK SIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND WRITE. ON. IT.
3. You must file a separate complaint for each claim you have unless the various claims are all related to the s same
incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure. Make a short and
pl ain statement of your claim, Rule 8, Federal Rules of Civil Procedure.
i When these forms are completed, mail the original and one copy to the clerk of the United’ States district court
for the appropriate district of Texas in the division where one or more named defendants are located, or where the
incident giving rise to your claim for relief occurred, If you are confined in the Texas Department of Criminal
justice, Correctional Institutions Division (TDCJ-C1D), the list labeled as “VENUE LIST” is posted in your unit
law library. It is a list of the Texas prison units indicating the appropriate district court, the division and an address
list of the divisional clerks. ye tee ed
FILING FEE AND IN FORMA PAUPERIS (IFP) he

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1 In order for your complaint to be filed, it must be accompanied by the statutory filing fee of $350.00 p

administrative fee of $52.00 fora total fee of $402.00,

2. If you do riot have the necessary funds to pay the fee in full at this time, you may request permission to’ proceed
in'fornia pauperis. In this event you must complete the application to proceed in forma pauperis, setting forth
information to establish your inability to prepay the fees and costs or give security therefor. You must also include
| a Current six-month history of your inmate trust account. If you are an inmate in TDCJ-CID, you can acquire the
application to proceed in forma pauperis and the certificate of inmate trust account, also. known as in forina

pauperis data sheet, from the law library at your prison unit.
at 4 .

3. The Prison Litigation Reform Act of 1995 (PLRA) provides “...if a prisoner brings a givil action or'files an
appeal in forma pauperis, the prisoner shall be required to pay the full amount of a filing fee.”’*See 28:U:S'C!:
8:1 915. Thus, the court is required to assess and, when funds exist, collect, the entire filing fee or an initial partial
filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner. Ifyou
submit the application to proceed in forma pauperis, the court will apply 28 U.S.C.-§ 1915 and, if appropriate,
assess and collect the entire filing fee or an initial partial filing fee, then monthly installments from your inmate trust
account, until the entire $350.00 statutory filing fee has been paid, (The $52.00 administrative ‘fee:does hot apply
10 Cases proceeding in forma pauperis.) Pee EE TO

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4 If you intend to seek in forma pauperis status, do not send your complaint without an application t proceed
in forma pauperis and the certificate of inmate trust account. Complete all essential paperwork before submitting
it to the court. esha Set

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A. Have you filed any other lawsuit in state or federal court relating to your imprisonment? v y S

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lawsuit, describé the additional lawsuits gn another piece of paper, giving the same information.) “2
1, Approximate date of filing lawsuit: Y@ar7 201) “Se, Sfoncg

B, If your answer to “A” is “yes,” describe each lawsuit in the space below. (If there is more than one

. Parties to previous lawsuit: ye ee

Plaintifts) Davhaan Littewhn 373677 ik

Defendant(s/MCSO_#/ Crmnal Sts ce Onve, Conte TK
. Court: (If federal, name the district; if state, name the county.) Southern Bich ad it xfevias
. Cause number: M/A A this time. _ “oe
. Name of judge to whom case was assigned: US. Judge beoxre Ensits g
. Disposition: (Was the case dismissed, appealed, still pending?) Di Srnissea

wie oe Witt ik

i . 7 Approximate date of disposition:,\//A At this hye vara ty iin y oe

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ne PLACE OF PRESENT CONFINEMENT: HAYT1S Countl Tal Houston Ty Ss

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"TIL? EXHAUSTION OF GRIEVANCE PROCEDURES:
i= Have you exhausted all steps of the institutional prievance procedure? YES V x

{ Noth ry i foqreve

: . Attach a copy of your final step of the grievance procedure with the response supplied’ ay the institatidi

|
IV2! PARTIES TO THIS SUIT:

_A. Name and address of plaints] aufuan { blehe /[ 200 Bale St os e ee
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i employment, and his full mailing address.

¥, B, Full name of each defendant, his official position, his place of
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ip. Defendant#1: MESO Deputy. OS, Davis: Mariqumery Ch Shelf
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| | Ld. ‘Nes describe the act(s) or omission(s) of this defendant which you claimed harmed you. ~
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P j Defendant #3: :MCSO" tt/ CY] itunal stdhee Drite. Mw

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| : .  Defendant#4: figuskn. Dol Wwe Departrent , Lo ura Mure ho “RL on

Vy) pin ke it / yt Br iefly describe the ect(s) or omission(s) of this defendant which you claimed haved Lyou, : ~

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- Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

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At 38 8

V. .: STATEMENT OF CLAIM:

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‘ State here in a short and plain statement the facts of your case, that is, what happened, where did it happen,

_ when did it happen, and who was involved. Describe how each defendant is involved, ‘You need not aive any
- Jegal areuments or cite any cases or statutes, If you intend to allege a number of related claims, number and

set forth each claim ina separate paragraph. Attach extra pages if necessary, but remember the complaint must:
be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY STRIKE YOUR

COMPLAINT,
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VI. RELIEF: Lede So ante
State briefly exactly what you want the court to do for you. Make no legal arguments, Cite no cases or
Statutes.

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Vil. GENERAL BACKGROUND INFORMATION:
A. State, in complete form, all names you have ever used or been known by including any and all aliases.”

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V. _B, _Listall TDCJ-CID identification numbers you have ever been assigned and all other state or federal prison
or FBI numbers ever assigned to you. vals tv eases om
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VIE. = SANCTIONS: os ne

B. If your answer is “yes,” give the following information for every lawsuit in which ‘san ‘sanctions. ‘were
imposed. {If more than one, use another piece of paper and answer the same questions. )

1. cent At netions (jf federal, give the district and division): Southam Distr el C - Favas

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2, Case number:/V, Is by Vhe, ~ c.
3. Approximate date sanctions were imposed: ///A a His pire. PBaw stlurisos
4. Have the sanctions been lifted or otherwise satisfied? ms YES 1“NO

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C. Has any court ever warned or notified you that sanctions could be imposed?

D. If your answer is “yes,” give the following information for every lawsuit in which a warming was issued.
if more than one, use another piece of paper and answer the same questions.)
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Case number: A

. Approximate date warning was issuea:/V/ A

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DATE

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(Signature of Plaintiff)

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PLAINTIFF’S DECLARATIONS

1. I declare under penalty of perjury all facts presented in this complaint and attachments thereto a are e true and
correct.

2. lunderstand, if am released or transferred, it is my responsibility to keep the court’ ififormed of my “eurrenit

mailing address and fatlure to do so may result in the dismissal of this lawsuit.

| understand | must exhaust all available administrative remedies prior to filing this lawsuit.

I understand ] am prohibited from bringing an in forma pauperis lawsuit if | have brought three or more

civil actions or appeals (from a judgment in a civil action) in a court of the United States while incarcerated

or detained in any facility, which lawsuits were dismissed on the ground they were frivolous, thalicious:

or failed to state a claim upon which relief may be granted, unless I am under i imminent danger of serious

physical injury.

_. 5. Tunderstand even if 1 am allowed to proceed without prepayment of costs, I am responsible for the entire

- filing fee and costs assessed by the court, which shall be deducted in accordance with the law from my

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inmate trust account by my custodian until the filing fee is paid.

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(Signature of Plaintiff),

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WARNING: Plaintiff is advised any false or deliberately misleading information provided i in. response to the.
above questions may result in the imposition of sanctions. The sanctions the court may im pose include, t buts are
not, limited to, monetary sanctions and the dismissal of this action with prejudice. He of PEEERE

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